       Case: 3:13-cr-00022-RAM-RM Document #: 821 Filed: 09/18/20 Page 1 of 3



                                DISTRICT COURT OF THE VIRGIN ISLANDS
                                 DIVISION OF ST. THOMAS AND ST. JOHN

                                                        )
UNITED STATES,                                          )
                                                        )
                           Plaintiff,                   )
                                                        )       Case No. 3:13-cr-0022
                           v.                           )
                                                        )
WALTER HILL,                                            )
                                                        )
                           Defendant.                   )
                                                        )

                                                   ORDER
          BEFORE THE COURT is the motion of Walter Hill for compassionate release. (ECF
No. 815). For the reasons stated below, the Court will deny the motion without prejudice.
                                              I. BACKGROUND
          On November 7, 2013, a federal grand jury in the U.S. Virgin Islands returned a sixty-
nine-count third superseding indictment charging Walter Hill (“Hill”) and other defendants
with various federal drug trafficking offenses.1 Hill was charged with three counts for
conspiracy to possess with intent to distribute 5 kg or more of cocaine, possession with
intent to distribute 5 kg or more of cocaine, and federal use of a communication facility to
facilitate a drug crime. On December 30, 2013, the United States filed an information against
Hill pursuant to 21 U.S.C. § 851 that provided notice of the United States’ intent to rely on
previous convictions for purposed of sentencing enhancement.
          On March 24, 2014, a jury trial commenced in this matter. On March 27, 2014, a jury
found Hill guilty on all three counts charged against him.
          On October 23, 2014, the Court sentenced Hill to a term of imprisonment of 240
months for each drug offense and 48 months for the facilitation offense, to be served




1   The third superseding indictment was the first charging document that named Hill as a defendant.
    Case: 3:13-cr-00022-RAM-RM Document #: 821 Filed: 09/18/20 Page 2 of 3
United States v. Hill
Case No. 3:13-cr-0022
Order
Page 2 of 3

concurrently, and a term of supervised release of ten years for each drug offense and one
year for the facilitation offense, to be served concurrently.
       On August 24, 2020, Hill filed a motion for compassionate release. (ECF No. 815). In
his motion, Hill asserts that the COVID-19 pandemic presents an extraordinary and
compelling reason to warrant relief under 18 U.S.C. § 3582(c)(1)(A). On September 2, 2020,
the United States filed an opposition to Hill’s motion.
                                        II. DISCUSSION
       Title 18, Section 3582 of the United States Code (“Section 3582”) provides in
pertinent part that
       (A) the court, . . . upon motion of the defendant after the defendant has fully exhausted
       all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion
       on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by
       the warden of the defendant’s facility, whichever is earlier, may reduce the term of
       imprisonment . . ., after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if it finds that—
           (i) extraordinary and compelling reasons warrant such a reduction; . . .
           ...
       and that such a reduction is consistent with applicable policy statements issued by
       the Sentencing Commission.
18 U.S.C. § 3582(c)(1).
                 The Third Circuit has explained that, prior to a District Court considering a
defendant’s motion for compassionate release pursuant to Section 3582, either (1) the
Bureau of Prisons (“BOP”) must have had 30 days to consider the defendant’s request that
the BOP move for compassionate release on his behalf, or (2) the defendant must
administratively exhaust an adverse decision by the BOP in response to that defendant’s
request within that time period. See United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).
Failure to comply with Section 3582(c)(1)(A)’s exhaustion requirement “presents a glaring
roadblock foreclosing compassionate release.” See id.
    Case: 3:13-cr-00022-RAM-RM Document #: 821 Filed: 09/18/20 Page 3 of 3
United States v. Hill
Case No. 3:13-cr-0022
Order
Page 3 of 3

       Here, Hill does not assert that he made any request to the BOP to move for
compassionate release on his behalf. Given these circumstances, the Court will deny the
motion due to Hill’s failure to satisfy the exhaustion requirement of Section 3582(c)(1)(A).
       The premises considered, it is hereby
       ORDERED that Walter Hill’s motion for compassionate release, ECF No. 815, is
DENIED without prejudice.



Dated: September 18, 2020                                /s/ Robert A. Molloy
                                                         ROBERT A. MOLLOY
                                                         District Judge
